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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
Leonard M. Shulman - Bar No. 126349
Ryan D. O'Dea - Bar No. 273478
SHULMAN BASTIAN FRIEDMAN & BUI LLP
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ROdea@shulmanbastian.com




      Debtor(s) appearing without an attorney
      Attorney for: Richard A. Marshack, Ch. 7 Trustee

                                        UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISIONDIVISION

 In re:                                                                      CASE NO.: 8:18-bk-10203-TA
PHILLIP BARRY GREER,                                                         CHAPTER: 7



                                                                                        NOTICE OF OPPORTUNITY TO
                                                                                      REQUEST A HEARING ON MOTION

                                                                                                      [LBR 9013-1(o)]


                                                                                          [No hearing unless requested in writing]
                                                              Debtor(s).

TO THE U.S. TRUSTEE AND ALL PARTIES ENTITLED TO NOTICE, PLEASE TAKE NOTICE THAT:

               Richard A. Marshack, Chapter 7 Trustee
1. Movant(s) ____________________________________________________________________________________,
                                                   Chapter 7 Trustee's Motion for Order Approving Settlement and
   filed a motion or application (Motion) entitled _________________________________________________________
   Compromise of Disputes . . . Between the Trustee and Chriss W. Street
   _____________________________________________________________________________________________.

2. Movant(s) is requesting that the court grant the Motion without a hearing as provided for in LBR 9013-1(o), unless a
   party in interest timely files and serves a written opposition to the Motion and requests a hearing.

3. The Motion is based upon the legal and factual grounds set forth in the Motion. (Check appropriate box below):
          The full Motion is attached to this notice; or
          The full Motion was filed with the court as docket entry # _____, and a detailed description of the relief sought is
          attached to this notice.

4. DEADLINE FOR FILING AND SERVING OPPOSITION PAPERS AND REQUEST FOR A HEARING: Pursuant to
   LBR 9013-1(o), any party who opposes the Motion may request a hearing on the Motion. The deadline to file and serve
   a written opposition and request for a hearing is 14 days after the date of service of this notice, plus 3 additional days if
   you were served by mail or pursuant to F.R.Civ.P. 5(b)(2)(D) or (F).


          This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                           Page 1               F 9013-1.2.OPPORTUNITY.HEARING.NOTICE
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    a. If you timely file and serve a written opposition and request for a hearing, movant will file and serve a notice of
       hearing at least 14 days in advance of the hearing. [LBR 9013-1(o)(4)]

    b. If you fail to comply with this deadline:

        (1) Movant will file a declaration to indicate: (1) the Motion was properly served, (2) the response period elapsed,
            and (3) no party filed and served a written opposition and request for a hearing within 14 days after the date
            of service of the notice [LBR 9013-1(o)(3)];
        (2) Movant will lodge an order that the court may use to grant the Motion; and
        (3) The court may treat your failure as a waiver of your right to oppose the Motion and may grant the Motion
            without further hearing and notice. [LBR 9013-1(h)]




                                                                      Respectfully submitted,



Date: 09/11/2023                                                      /s/ Ryan D. O'Dea                                                  .
                                                                      Signature of Movant or attorney for Movant

                                                                      Ryan D. O'Dea                                                      .
                                                                      Printed name of Movant or attorney for Movant




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                         Email:          LShulman@shulmanbastian.com
                       5                 ROdea@shulmanbastian.com

                       6 Attorneys for Richard A. Marshack,
                         Chapter 7 Trustee
                       7

                       8                               UNITED STATES BANKRUPTCY COURT

                       9                 CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION
                     10

                     11     In re                                                Case No. 8:18-bk-10203-TA

                     12     PHILLIP BARRY GREER,                                 Chapter 7

                     13                     Debtor.                              CHAPTER 7 TRUSTEE’S MOTION FOR
                                                                                 ORDER APPROVING SETTLEMENT
                     14                                                          AND COMPROMISE OF DISPUTES
                                                                                 UNDER FEDERAL RULE OF
                     15                                                          BANKRUPTCY PROCEDURE 9019
                                                                                 BETWEEN THE TRUSTEE AND
                     16                                                          CHRISS W. STREET; MEMORANDUM
                                                                                 OF POINTS AND AUTHORITIES AND
                     17                                                          DECLARATION OF RYAN D, O'DEA IN
                                                                                 SUPPORT
                     18
                                                                                 [No Hearing Set Pursuant to Local
                     19                                                          Bankruptcy Rule 9013-1(o)]

                     20

                     21 TO THE HONORABLE THEODOR C. ALBERT, UNITED STATES BANKRUPTCY

                     22 JUDGE, THE DEBTOR AND HIS COUNSEL, THE OFFICE OF THE UNITED STATES

                     23 TRUSTEE AND ALL OTHER PARTIES IN INTEREST:

                     24             Richard A. Marshack, the duly-appointed, qualified, and acting Chapter 7 trustee (“Trustee”)

                     25 for the bankruptcy estate (“Estate”) of Phillip Barry Greer (the “Debtor”) brings this Motion (the

                     26 "Motion") for Order Approving Settlement and Compromise of Disputes Under Federal Rule of

                     27 Bankruptcy Procedure 9019 Between the Bankruptcy Estate and Chriss W. Street (“Creditor Street”)

                     28
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                       1 (the Trustee and Creditor Street may collectively be referred to herein as the "Parties", or

                       2 individually as "Party"), and respectfully represents as follows:

                       3                                       I.      BACKGROUND

                       4 A.       The Bankruptcy Case

                       5          The Debtor filed a voluntary chapter 7 bankruptcy petition on February 22, 2018 (“Petition

                       6 Date”). Richard A. Marshack is the duly appointed and acting chapter 7 Trustee for the Estate.

                       7 B.       Factual Background

                       8          1.     Creditor Street is the judgment creditor under that certain judgment entered against

                       9 the Debtor in that certain civil action entitled, Street v. Greer, Orange Cunty Superior Court Case
                     10 No. 30-2011-00512573-CU-BT-CJC (the "State Court Action").

                     11           2.     On April 16, 2018, the Trustee filed an adversary proceeding in relation to the

                     12 Bankruptcy Proceeding in the United States Bankruptcy Court, Central District of California,

                     13 Orange County Division, Case No. 8:18-ap-01069 (the "Trustee Action"). The Trustee Action,

                     14 among other things, seeks recovery of Debtor's interest in that certain real property commonly

                     15 known as 19 Bridgeport, Newport Beach, CA 92657 (the "Residence"), which was fraudulently

                     16 conveyed to Debtor's spouse, Arlene C. Greer a.k.a. Arlene C. Biden ("Debtor's Spouse").

                     17           3.     On April 26, 2018, Creditor Street filed a separate adversary proceeding in relation

                     18 to the Bankruptcy Proceeding, in the United States Bankruptcy Court, Central District of California,

                     19 Orange County Division, Case No. 8:18-ap-01075 (the "Creditor Street Action"). The Creditor

                     20 Street Action, among other things, seeks a judicial declaration that Debtor, as owner, has an interest

                     21 in the Residence, which is subject to a judgment lien in favor of Creditor Street by virtue of the

                     22 recordation of an abstract of the State Court Judgment as Document No. 2017000337882 in the

                     23 Official Records of the Orange County Recorder (the "Abstract Lien") and an "ORAP Lien"

                     24 encumbering the non-exempt personal property of the Debtor.

                     25           4.     The Parties dispute certain claims and allegations set forth in their respective Trustee

                     26 Action and Creditor Street Action (the "Dispute").

                     27

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                       1          5.     Notwithstanding the Dispute, the Parties believe that Debtor owns, as community

                       2 property, a substantial amount of personal property and/or household property (collectively, the

                       3 "Personal Property") that Debtor did not list in the schedules in the Bankruptcy Proceeding.

                       4          6.     If the Trustee is successful in its Trustee Action, the Trustee intends to market and

                       5 sell any and all property found to be the property of the Estate, including, but not limited to, the

                       6 Residence and Personal Property.

                       7          7.     Even if the Trustee is successful in its Trustee Action, the Trustee would not be able

                       8 to market and sell such property because Creditor Street has or allegedly has a lien on the Residence

                       9 by virtue of the Abstract Lien and a lien on the non-exempt personal property of the Debtor by virtue
                     10 of the ORAP Lien (each a "Lien", and collectively, the "Liens").

                     11           8.     Despite the Liens, Creditor Street desires and authorizes the Trustee to market and

                     12 sell the Residence and Personal Property and have entered into that certain Settlement Agreement

                     13 and General Release ("Settlement Agreement") in order to fully and completely settle all disputes,

                     14 claims, demands and causes of action which the Parties have, or may have, known or unknown, as

                     15 to one another, including without limitation all matters arising out of or connected with, or incidental

                     16 to any dealings between them, the Trustee Action, the Creditor Street Action, or the Liens, up to and

                     17 including the effective date of the Settlement Agreement.

                     18 C.        Summary of Principal Terms of the Settlement Agreement

                     19           The following is a summary of the principal terms of the Settlement Agreement for

                     20 convenience purposes only and shall not constitute a basis for interpretation of the Settlement

                     21 Agreement – the precise language of the Settlement Agreement controls the agreement between the

                     22 parties and is attached as Exhibit “1” to the declaration of Ryan D. O'Dea ("O'Dea Declaration").

                     23         1.       Order Approving Settlement Agreement. The Settlement Agreement is contingent
                        upon entry of a final, non-appealable order of the Bankruptcy Court approving the Settlement
                     24 Agreement (the "Order"). Within fourteen (14) days from the Settlement Agreement being executed
                        by all parties, the Trustee shall file a motion for approval of compromise pursuant to Federal Rule
                     25
                        of Bankruptcy Procedure 9019 (the "9019 Motion") seeking Bankruptcy Court approval of the
                     26 Settlement Agreement.

                     27        2.       Obligations of the Parties. The Parties agree that for and in consideration of (i) the
                        Recitals set forth in the Settlement Agreement, (ii) Creditor Street dismissing Trustee, and all claims
                     28 and allegations against Trustee in the Creditor Street Action with prejudice, (iii) Creditor Street
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                       1 allowing the Trustee to proceed with the Trustee Action against Debtor's Spouse, the Trustee shall
                         be authorized, notwithstanding the Liens, to attempt to obtain, marshal, and liquidate any and all
                       2 property found to be the property of the Estate, including, but not limited to the Residence and
                         Personal Property, and (iv) Creditor Street stipulating, at the election of the Trustee, to entry of an
                       3
                         order substituting the Trustee in place of Creditor Street to proceed with the Creditor Street Action
                       4 against Debtor's Spouse, in order to aid the Trustee in his attempt to obtain, marshal, and liquidate
                         any and all property found to be property of the Estate, including, but not limited to, the Residence
                       5 and Personal Property.

                       6            3.      Sale of Residence. In the event the Trustee prevails in the Trustee Action and sells
                            the Residence, the Trustee shall disburse the Net Proceeds to Creditor Street by delivery to "Aires
                       7    Law Trust Account fbo Street", 6 Hughes, Suite 205, Irvine, CA 92618 within thirty (30) days from
                       8    the date of such sale. "Net Proceeds" from the sale of the Residence shall be calculated as (i) the
                            sale price of the Residence, (ii) minus (a) marketing and selling costs related to the sale of the
                       9    Residence, (b) a surcharge equal to Trustee's fees and costs incurred (including, but not limited to,
                            counsel's fees and costs calculated consistent with the Court-approved employment application of
                     10     Sherman Hodges & Bastian, LLP 1, (c) payment of the Trustee's statutory fees allowable under the
                            Bankruptcy Code, and (d) a $50,000 carve-out payable to timely filed unsecured claims of the
                     11
                            Estate. The amount of the Trustee's professional's fees and costs will be determined as of the date
                     12     the Net Proceeds are submitted to the Creditor pursuant to the Settlement Agreement, whether or
                            not a Bankruptcy Court order has been entered approving said fees and costs. Within fifteen (15)
                     13     days from the entry of Bankruptcy Court order approving the final fees and costs of the Trustee's
                            professionals, the Trustee shall remit to Creditor the amount of any fees and/or costs not approved
                     14     by the Bankruptcy Court that were being withheld from the Net Proceeds.
                     15             4.      Sale of Personal Property. In the event the Trustee prevails in the Trustee Action
                     16     and sells any and all Personal Property found to be property of the Estate, the Trustee shall disburse
                            75% of the Net Sales Proceeds to Creditor Street by delivery to "Aires Law Trust Account fbo
                     17     Street", 6 Hughes, Suite 205, Irvine, CA 92618 within thirty (30) days from the date of such sale,
                            and the remaining 25% of the Net Sales Proceeds shall be paid to the general unsecured creditors of
                     18     the Estate until such creditors are paid in full. "Net Sales Proceeds" from the sale of such Personal
                            Property shall be calculated as (i) the sale price of such Personal Property, (ii) minus (a) cost of
                     19     goods sold, (b) a surcharge equal to Trustee's fees and costs (including, but not limited to, counsel's
                     20     fees and costs calculated consistent with the Court-approved employment application of Sherman
                            Hodges & Bastian, LLP 2, and (c) payment of the Trustee's statutory fees allowable under the
                     21     Bankruptcy Code. Nothing in the Settlement Agreement shall obligate the Trustee to liquidate any
                            personal property of the Estate as the Parties agree the decision to liquidate personal property of the
                     22     Estate is within the sole discretion and business judgment of the Trustee. The Parties further agree
                            that the Trustee will not marshal or liquidate an item of personal property unless said item has a fair
                     23
                            market value in excess of $3,000.00.
                     24
                               5.      Treatment of Creditor Street's Proof of Claim and Liens. Trustee waives any defense
                     25 to Creditor Street's Proof of Claim and any challenge to the nature, source, extent, and validity of
                        the Liens. Within fifteen (15) days after the Bankruptcy Court enters the Order approving the 9019
                     26
                            1
                     27         Sherman Hodges & Bastian LLP now Sherman Bastian Friedman & Bui LLP.
                            2
                     28         Sherman Hodges & Bastian LLP now Sherman Bastian Friedman & Bui LLP.
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                      1 Motion, Creditor Street shall prepare and file such documents as are necessary to dismiss Trustee,
                        and all claims and allegations against Trustee in the Creditor Street Action with prejudice.
                      2
                                 6.     General Release. Except for the obligations created by the Settlement Agreement,
                      3 effective on the Effective Date, each Party on behalf of itself, and his/her heirs, spouses, offspring,

                      4 affiliates, executors, administrators, insurance companies, predecessors, successors, assigns, agents,
                        servants, employees, members, corporations, officers, directors, partnerships, partners, associates,
                      5 attorneys, representatives, principals, joint ventures, parents, trustees, subsidiaries, shareholders,
                        past and present, or anyone else claiming by and through such Party, acknowledge full and complete
                      6 satisfaction of and fully and unconditionally, forever and irrevocably release, discharge, and acquit,
                        the other Party and its affiliates, as well as their administrators, predecessors, successors, assigns,
                      7 agents, servants, employees, members, corporations, insurance companies, officers, directors,

                      8 partnerships, partners, associates, attorneys, representatives, principals, joint ventures, parents,
                        trustee, subsidiaries, shareholders, past and present, and each of them, from any and all rights,
                      9 claims, demands, objections, liabilities, lawsuits or claims pertaining to or arising out of the Trustee
                        Action, Creditor Street Action, sale of Residence, Personal Property, or any property found to be
                     10 property of the Estate, indebtedness, breaches of contract, breaches of duty or any relationship, acts,
                        omissions, misfeasance, malfeasance, causes of action, debts, sums of money, accounts,
                     11
                        compensation, contracts, controversies, promises, damages, costs, losses and expenses of every
                     12 type, kind, nature, description or character (including attorneys' fees and costs), and irrespective of
                        how, why, or by reason of what facts, whether heretofore or now existing, or that could, might, or
                     13 may be claimed to exist of whatever kind or nature, whether known or unknown, suspected or
                        unsuspected, liquidated or unliquidated, claimed or unclaimed, whether based on contract, tort,
                     14 breach of any duty or other legal or equitable theory of recovery (collectively, a "Claim" or the
                        "Claims").
                     15

                     16          7.     1542 Waiver. As a condition of the Settlement Agreement and the intent of the
                        Parties in executing the Settlement Agreement and in giving the releases set forth in the Settlement
                     17 Agreement, that the same be effective as a bar to each and every claim, demand and cause of action,
                        matter or thing specified; and in furtherance of such intention, the Parties expressly waive any and
                     18 all rights and benefits conferred upon them by the provisions of Section 1542 of the California Civil
                        Code which provides:
                     19
                                 "A general release does not extend to claims which the creditor does not know or
                     20
                                 suspect to exist in his or her favor at the time of executing the release, which if
                     21          known by him or her must have materially affected this settlement with the debtor."

                     22
                                   The parties expressly waive and relinquish all rights and benefits under Section 1542.
                     23
                                                           II.     LEGAL AUTHORITIES
                     24
                            A.     Upon Court Approval, the Trustee May Compromise a Claim of the Estate.
                     25
                                   The power of the Court to review and approve settlements is expressly recognized in Federal
                     26
                            Rule of Bankruptcy Procedure, Rule 9019(a), which provides:
                     27
                                   On motion by the trustee and after notice and a hearing, the court may approve a
                     28            compromise or settlement. Notice shall be given to creditors, the United States
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                       1          trustee, the debtor, and indenture trustees as provided in Rule 2002 and to any other
                                  entity as the court may direct.
                       2

                       3 Thus, upon notice to the creditors, the United States Trustee, debtor, and indenture trustees, the

                       4 Trustee may compromise a claim of the Estate. The approval of a compromise is a core proceeding

                       5 under 28 U.S.C. § 157(b)(2)(A) and (O). In re Carla Leather, Inc., 50 B.R. 764, 775 (S.D.N.Y.

                       6 1985).

                       7 B.       The Court May Approve a Compromise Which is Fair and Equitable.

                       8          The purpose of a compromise agreement is to allow the parties to avoid the expenses and

                       9 burdens associated with litigation. Martin v. Kane (In re A & C Properties), 784 F.2d 1377, 1380-
                     10 81 (9th Cir. 1986), cert. denied sub nom, Martin v. Robinson, 479 U.S. 854 (1986). The bankruptcy

                     11 court has great latitude in approving compromise agreements as long as it finds that the compromise

                     12 is fair and equitable. Id. at 1382; see also, Woodson v. Fireman’s Fund Ins. Co. (In re Woodson),

                     13 839 F.2d 610, 620 (9th Cir. 1988). Generally, the benchmark in determining the propriety of a

                     14 settlement is whether the settlement is in the best interests of the estate and its creditors. In re

                     15 Energy Cooperative, Inc., 886 F.2d 921, 927 (7th Cir. 1989). To be approved, the settlement need

                     16 not represent the highest possible return to the estate, but merely must not fall below the “range of

                     17 reasonableness.” In re Walsh Construction, Inc., 669 F.2d 1325, 1328 (9th Cir. 1992). In making

                     18 this determination, the bankruptcy court need not conduct a trial or even a “mini trial” on the merits.

                     19 Id.

                     20           In determining the fairness, reasonableness and adequacy of a proposed settlement, the Court
                     21 must consider the following factors:

                     22           (a) The probability of success in the litigation; (b) the difficulties, if any, to be
                                  encountered in the matter of collection; (c) the complexity of the litigation involved,
                     23           and the expense, inconvenience, and delay necessarily attending it; (d) the paramount
                                  interests of the creditors and a proper deference to their reasonable views in the
                     24           premises.
                     25 A & C Properties, 784 F.2d at 1381; Woodson, 839 F.2d at 620. In other words, the Court must

                     26 weigh certain factors in order to determine whether the compromise is in the best interests of the

                     27 bankrupt estate. A & C Properties, 784 F.2d at 1382.

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                       1          The Trustee believes that based on the four factors under A & C Properties, the proposed

                       2 Agreement is in the best interest of the Estate.

                       3          1.     Probability of Success in Litigation.

                       4          As an initial matter, it is worth noting that the Trustee is a defendant in the Adversary

                       5 Proceeding. At issue in the Adversary Proceeding is Debtor’s transfer of the Residence to his wife,

                       6 Mrs. Greer, approximately ten (10) years prior to petition date. The Trustee initiated the Trustee

                       7 Action to avoid the transfer of the Residence for the benefit of the Estate, which is the subject of a

                       8 concurrently filed settlement motion. Given the adversary action filed by the Trustee against Mrs.

                       9 Greer regarding the transfer of the Residence, the Parties determined that the adversary action
                     10 initiated by Creditor Street was unnecessary. Furthermore, the purpose of a compromise agreement

                     11 is to allow the Trustee to avoid the expenses and burdens associated with litigating contested and

                     12 uncertain claims, and it should be noted that the law favors compromise over litigation. As such,

                     13 these factors weigh in favor of settling.

                     14           2.     Difficulties, if any, to be Encountered in the Matter of Collections.

                     15           As the Trustee is a defendant in the action initiated by Creditor Street, this A & C Properties

                     16 factor is inapplicable to the relief sought in the Motion.

                     17           3.      The Complexity of the Litigation Involved, Expense, Inconvenience and Delay

                     18                  Necessarily Attending It.

                     19           The Adversary Proceeding is both legally and factually complex and may necessitate

                     20 procurement of testimony and documents relating to events many years in the past. If the Trustee

                     21 continued to litigate the Adversary Proceeding, the Trustee would incur a significant amount of time

                     22 and money, including engaging in discovery, attending trial and possibly responding to appeals –

                     23 without a tangible benefit to the Estate due to the fact that the Trustee is a defendant. In light of

                     24 this, the Trustee believes that litigating the Adversary Proceeding will be exceedingly expensive for

                     25 the Estate and will likely exceed any prospective judgment the Trustee may obtain. Based thereon,

                     26 the Trustee believes the proposed settlement and compromise is the most expedient and cost-

                     27 effective method for resolving the Adversary Proceeding. As such, this factor also weighs in favor

                     28 of settling
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                       1          4.      The Paramount Interest of the Creditors and the Proper Deference to their

                       2                  Reasonable Views

                       3          The Agreement should be approved as a means of preserving assets and enhancing the value

                       4 of the Estate, as it reduced litigation costs and expenses attendant to the Trustee’s defense. The

                       5 Agreement allows a resolution of the Adversary Proceeding and ceases costly and risky activities

                       6 related to litigation of the disputes.

                       7          The settlement is based on the Trustee’s business judgment.               Rather than delay

                       8 administration and incur expenses or resources litigating the disputes between the Parties, the

                       9 Trustee has determined that the Settlement Agreement reached is fair and reasonable.
                     10           In summary, the Settlement Agreement reached is based on the Trustee’s good business

                     11 judgment that it will benefit the Estate and creditors. Based on this, approval of the Motion is

                     12 proper.

                     13                                           III.     CONCLUSION

                     14           Based on the reasons set forth above, the Trustee respectfully requests that the Court enter

                     15 an order as follows:

                     16           1.      Granting the Motion;

                     17           2.      Approving the Settlement Agreement, a copy of which is attached as Exhibit "1" to

                     18 the O'Dea Declaration;

                     19           3.      Authorizing the Trustee to execute any necessary documents to carry out the

                     20 provisions as contemplated in the Settlement Agreement; and

                     21           4.      For such other and further relief, the Court deems just and proper.

                     22                                                  SHULMAN BASTIAN FRIEDMAN & BUI LLP

                     23

                     24
                            DATED: September 11, 2023                    By:           /s/ Ryan D. O'Dea
                     25                                                        Leonard M. Shulman
                                                                               Ryan D. O'Dea
                     26                                                        Attorneys for Richard A. Marshack, Chapter 7
                                                                               Trustee
                     27

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                       1                              DECLARATION OF RYAN D. O’DEA

                       2          I, Ryan D. O’Dea, declare as follows:

                       3          1.     I am a partner at the law firm Shulman Bastian Friedman & Bui, LLP, counsel for

                       4 the duly appointed, qualified and acting Chapter 7 trustee for the bankruptcy estate (“Estate”) of In

                       5 re Phillip Barry Greer, Case No. Case No. 8:18-bk-10203-TA (“Debtor”). As the primary attorney

                       6 handling the lawsuit against Mrs. Greer, I have personal knowledge of the facts set forth herein, and

                       7 if called as a witness, I could and would competently testify thereto.

                       8          2.     I make this declaration in support of the Trustee’s Motion for Order Approving

                       9 Settlement and Compromise of Disputes Under Federal Rule of Bankruptcy Procedure 9019
                     10 Between the Bankruptcy Estate and Chriss W. Street (“Motion”). All capitalized terms not

                     11 otherwise defined herein shall have the meaning set forth in the Motion.

                     12           3.     A true and correct copy of the Settlement Agreement is attached here as Exhibit 1.

                     13           4.     Before the Agreement was executed by the Trustee, I informed the Trustee about the

                     14 risks and benefits of entering into the settlement and the benefits to the Estate which would result

                     15 from the settlement.

                     16           I declare under penalty of perjury under the laws of the United States of America that the

                     17 foregoing is true and correct.

                     18           Executed on September 11, 2023.

                     19

                     20                                                        /s/ Ryan D. O’Dea
                                                                            Ryan D. O’Dea
                     21

                     22

                     23

                     24

                     25

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                   EXHIBIT "1"
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                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 100 Spectrum
Center Drive, Suite 600, Irvine, CA 92618.

A true and correct copy of the foregoing document entitled (specify): CHAPTER 7 TRUSTEE’S MOTION FOR ORDER
APPROVING SETTLEMENT AND COMPROMISE OF DISPUTES UNDER FEDERAL RULE OF
BANKRUPTCY PROCEDURE 9019 BETWEEN THE TRUSTEE AND CHRISS W. STREET;
MEMORANDUM OF POINTS AND AUTHORITIES AND DECLARATION OF RYAN D, O'DEA
IN SUPPORT [with Notice of Opportunity to Request a Hearing on Motion] will be served or was served (a) on
the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders and
LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On September 11, 2023, I
checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the
Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                   Service information continued on attached page.
2. SERVED BY UNITED STATES MAIL:
On September 11, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage
prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no
later than 24 hours after the document is filed.




                                                                                           Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for each
person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                      , I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service method),
by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or
overnight mail to, the judge will be completed no later than 24 hours after the document is filed.
                                                                                     Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
  9/11/2023                                Lori Gauthier                                         /s/ Lori Gauthier
  Date                                     Printed Name                                          Signature




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
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   TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

   •   Timothy C Aires tca@arlawyers.com, gperez@arlawyers.com
   •   Peter Bach-y-Rita peter.bachyrita@gmail.com, peter.bachyrita@yahoo.com
   •   James C Bastian jbastian@shulmanbastian.com
   •   Arnold L Graff agraff@wrightlegal.net,
       bkudgeneralupdates@wrightlegal.net;jpowell@wrightlegal.net
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   •   Ryan D O'Dea rodea@shulmanbastian.com, lgauthier@shulmanbastian.com
   •   Misty A Perry Isaacson misty@ppilawyers.com,
       ecf@ppilawyers.com;pagterandperryisaacson@jubileebk.net
   •   United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
   •   Robert P Zahradka rzahradka@nationalfunding.com
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David Audley
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Chicago, IL 60603

Deutsche Bank National Trust Company
c/o McCarthy & Holthus, LLP
411 Ivy Street
San Diego, CA 92101-2108
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Chriss Street
c/o Timothy Aires
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Department Stores National Bank
c/o Quantum3 Group LLC
PO Box 657
Kirkland, WA 98083-0657

Department Stores National Bank
Citibank, N.A.
701 East 60th Street North
Sioux Falls, SD 57117

Employment Development Dept.
Bankruptcy Group MIC 92E
P.O. Box 826880
Sacramento, CA 94280-0001

DSNB MACY S|CITIBANK
1000 TECHNOLOGY DRIVE MS 777
O FALLON MO 63368-2222

FRANCHISE TAX BOARD
BANKRUPTCY SECTION MS A340
PO BOX 2952
SACRAMENTO CA 95812-2952

Internal Revenue Service
Centralized Insolvency Operation
PO Box 7346
Philadelphia, PA 19101

Karl T. Anderson, Chapter 7 Trustee
c/o PAGTER AND PERRY ISAACSON
Attn: Misty Perry Isaacson
525 N. Cabrillo Park Drive, Suite 104
Santa Ana, CA 92701

MUFG Union Bank, N.A.,
fka Union Bank, N.A.
P.O. Box 85600, 2-36D-224
San Diego, CA 92186
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Arlene Biden
c/o Phillip Greer
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Newport Coast, CA 92657

United States Trustee (SA)
411 W Fourth St., Suite 7160
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